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 1
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 4
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 5 FILEMON PADILLA-MARTINEZ

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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                       2:19-CR-0159 MCE
12                                  Plaintiff,       STIPULATION REGARDING EXCLUDABLE
                                                     TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                      ORDER
14   FILEMON PADILLA-MARTINEZ,                       DATE: January 9, 2020
                                                     TIME:  10:00 a.m.
15                                  Defendant.       COURT: Hon. Morrison C. England, Jr.
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18                                               STIPULATION

19         1.      By previous order, this matter was set for status on January 9, 2020.

20         2.      By this stipulation, the parties now move to vacate the status conference, set the

21 matter for change of plea on January 23, 2020, and to exclude time between January 9, 2020

22 and January 23, 2020 under Local Code T4.

23         3.      The parties agree and stipulate, and request that the Court find the following:

24                 a)     Discovery in this case is voluminous. It includes multiple CD/DVDs, digital

25         data, and over 1700 pages of bates stamped materials. This discovery has been either

26         produced directly to counsel and/or made available for inspection and copying.

27                 b)     Defense counsel desires additional time to review discovery, investigate,

28         and to confer with his client concerning discovery, investigation, potential options for the

      STIPULATION TO CONTINUE STATUS CONF             1
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         Case 2:19-cr-00159-DAD-CKD Document 29 Filed 12/20/19 Page 2 of 3


 1        defense and trial preparation.

 2                c)     Counsel for defendant believes that failure to grant the above-requested

 3        continuance would deny counsel the reasonable time necessary for effective

 4        preparation, taking into account the exercise of due diligence.

 5                d)     The government does not object to the continuance.

 6                e)     Based on the above-stated findings, the ends of justice served by

 7        continuing the case as requested outweigh the interest of the public and the defendant

 8        in a trial within the original date prescribed by the Speedy Trial Act.

 9                f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

10        § 3161, et seq., within which trial must commence, the time period of January 9, 2020 to

11        January 23, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§

12        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

13        the Court at defendants’ request on the basis of the Court’s finding that the ends of

14        justice served by taking such action outweigh the best interest of the public and the

15        defendant in a speedy trial.

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     STIPULATION TO CONTINUE STATUS CONF            2
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           Case 2:19-cr-00159-DAD-CKD Document 29 Filed 12/20/19 Page 3 of 3


 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period

 3 within which a trial must commence.

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 5          IT IS SO STIPULATED.

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     Dated: December 13, 2019                             /s/ Adrian Kinsella
 8                                                        ADRIAN KINSELLA
                                                          Assistant United States
 9                                                        Attorney
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12 Dated: December 13, 2019                               /s/ Chris Cosca
                                                          CHRIS COSCA
13
                                                          Counsel for Defendant
14                                                        FILEMON PADILLA-
                                                          MARTINEZ
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                                                  ORDER
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            The Court adopts the stipulation of the parties as its order. However, due to the
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     unavailability of the Court, the change of plea shall be set for hearing on April 23, 2020, at
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     10:00 a.m. in Courtroom 7. The parties are encouraged to file a Notice of Exclusion of Time if
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     amenable and applicable. For time sensitive matters, the parties are directed to email the
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     Courtroom Deputy Clerk to seek a hearing before another District Judge.
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            IT IS SO ORDERED.
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            Dated: December 20, 2019
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      STIPULATION TO CONTINUE STATUS CONF             3
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